 

Case 4:21-cv-40116-NMG Document 1-4 Filed 11/20/21 Page1of5

 

EXHIBIT
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Case 4:21-cv-40116-NMG Documenti1-4 Filed

Boston Medical Center

11/20/Hnceunter Dated 12/16/2019

Mullen, Jason #3573986 (Acct #:8026907617) (39

y.o. M)

Jason|Mullen

Description 39 year old male Provider: Crandall Peeler, MD Department: Yaw Eye Clinic

4 month follow up

HPI: 39yo |male here for follow up exam

"stabbing"|pain LE. Pt inquires ab

Last edited) by Jennifer Lambert on 12/1

Positive for

pre

CG: \Pt with hx decreased vision LE x1

12/16/2019 1:00 PM Office Visit
MRN: 3573986

Comments

. Pt reports that VA LE remains poor. Some intermittent

out MRI/CT that were performed at Shattuck. No interval health issues.

i At a ert

Negative far: Constitutional, HENT, Respiratory,

Last edited |by Jennifer Lambert on 12/16/2019

Visual Acu ity (Snellen - Linear)
aaa || ul Rig| ht __ Left i
Distsc —|[20/20 [HM

Pt in phoropter but both oculars o
with +1.50 RE

Edited by: Jennifer Lambert

Mullen, Jason (MRN 3573 986) Printed by Crandall Peeler, MD [1 8497] af

 

pen; 20/25 ou

6/2019 11:00 AM. (History)

Allergic/imm
11:00 AM. (History)

re th ena a eae,

Right _
Left

 

 

 

 

Neuro/Psych
Oriented x3: Yes
Mood/Affect: No rmal

12/16/19 11:5...

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Mullen, Jason

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11/20/HinekRaer Dated 12/16/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Tests
Seer gail Se eee oe
Right Left
Ishihara [10/10 junable voll
Edited by: Jennifer Lambert
Slit Lamp and Fundus Exam = ela pee
External Exam
Right Left
External iNormal iNormal See
Slit Lamp Exam
Right Left
Lids/Lashes mgd mgd
Conjunctiva/Sclera White and quiet White and quiet
Cornea spk spk
Anterior Chamber Deep and quiet Deep and quiet
Iris Round and reactive Round and reactive
Lens Clear Clear
Fundus Exam a
Right Left
Disc [Pink and sharp [Pink &nd sharp a
Edited by: Crandall Peeler, MD
Notes
Crandall Peeler, MD at 12/16/2019 100 PM
Status: Signed .
HPI
CC:| Pt with hx decreased vision LE x1

appearance here for 4 month follow up

HPI:

inter
Shat

_ Last

year following traun

39yo male here for follow uy
mittent "stabbing"

tuck. No interval health issues.

 

Pp exam. Pt reports that VA
pain LE. Pt inquires about MRI/CT th

edited by Jennifer Lambert on 12/1 6/2019 11:00 AM. (#

na with normal optic nerve

LE remains poor. Some
at were performed at

History)

 

Base Eye Exam
Visual Acuity (Snellen - Linear)
Right Left
Digt sc | 20/20 | HM =
Pti

Mullen, Jason (N

 

n phoropter but both oct oculars open; 20/25 ou with +1.50

RE

 

IRN 3573986) Printed by Crandall Peeler, MD [18497]

 

at 12/16/19 11:5... Page 2 of 4
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Mullen, Jason (MRN 3573986

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11/20/Encaye Dat 512/16/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pupils . ipl
Pupils
Right | PERRL
_ |Left LPERRL
Extraocular Movement
Right Left
Full | Full
Nelro/Psych
Oriented x3: Yes
Mood/Affect: Normal
Additjonal Tests
Color
Right Left
Ishihara | 10/10 | unable a
Slit Lamp and Fundus Exam
External Exam
aes Right Left
External | Normal | Normal |
Slit Lamp Exam
Right Left
Lids/Lashes _mgd _ mgd
Conjunctiva/Sclera [White and quiet White and quiet
Cornea spk spk .
Anterior Chamber | Deep and quiet Deep and quiet
iris Round and reactive Round and reactive
Léns Clear Clear tI
Fundus Exam
Right Left
Dike | Pink and sharp | Pink and sharp “it
Assessment/plan:
1. Decre

 

ARN 3573986) Printed by Crandall Peeler, MD [18497]

rased vision, pain behind left eye since trauma (fist) in a
- patient reports stable decreased vision since the time of the in
a head CT the day after the injury in Leominster that showed no

at 12/16/19 11:5...

 

round Thanksgiving 2018
cident; patient reportedly had
fractures; | ordered an MRI

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Mullen, Jaso (MRN

ase £34°2890116-NMG Document 1-4 Filed 11/20/Ehcdtaa? BAES12/16/2019

of the orbits and this was obtained at Shattuck Hospital (1 wanted BMC) and an MRI of the

brain|was done (not orbits) that showed no explan
- - Subjectively poor vision Os today, no APD on careful exa

ation for the patient's vision loss
mjtoday, no color plates Os

- hormal optic nerve appearance, normal fundus appearance, normal mac OCT previously

- it is possible that the patient sustained a traumatic optic ne

ropathy at the time of his injury

but objective findings (normal pupils and optic nerve appear. nce) do not support HM level

vision and patient also able to see good stereo
- RV 6 months or sooner PRN

Crand all Peeler, MD

Follow-up and Dispositions

 

* Return jn about 6 months (around 6/16/2020) for neuro follow up.
Follow-up] and Disposition History

Level of Service

 

Level of Sérvice f at |

PR OFFICH OUTPATIENT VISIT 25 MINUTES [S924] pf

All Flowsheet Templates (all recorded)

 

None

Referring Provider

 

Heather L Beckner, NP

Communication Routing History

 

None

All Charges for This Encounter

 

 

 

Code __bescription —...Setvice Date Service Hrovider Modifiers Oty

99214 RR OFFICE OUTPATIENT VISIT 25 12/16/2019 Crandall Peeler, MD 1

MINUTES

99214001 HC OFFICE OUTPATIENT VISIT 25 12/16/2019 Crandall Peeler, MD E
MINUTES

Allergies & Medications

Problem List
History
Patient-Entered Questionnaires

Other Encot Unter Related Information

 

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